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                                UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF RHODE ISLAND

     In Re:                                               Case Number 10-11598-ANV
     Robert Casci and Natalie Casci                       Chapter 7

                 CONSENT ORDER GRANTING RELIEF FROM AUTOMATIC STAY

This case having come before the undersigned United States Bankruptcy Judge for the District of Rhode Island,
upon request of U.S. Bank National Association, as Trustee for JPM ALT 2006-S4 (“Movant”) for
Relief From Automatic Stay and; and no objection having been filed, or after a hearing thereon, as the case
maybe, and after proper notice was given;

WHEREFORE, the Court grants Relief from Automatic Stay to Movant effective as of June 4, 2012, to seek
foreclosure on property known as 24 Cedarwood Lane, Hopkinton, RI 02832 by entry and by the power of sale.

NOW, THEREFORE, it is hereby ORDERED, ADJUDGED AND DECREED that Movant is granted Relief
from Automatic Stay to pursue its state and/or federal law remedies under the Mortgage recorded with the Town
of Hopkinton Land Evidence Records in Book 444, Page 719 as affected by a Loan Modification Agreement
recorded at said Land Evidence Records in Book 476, Page 201, and under the Note secured thereby, including
without limitation, foreclosing the mortgage in accordance with applicable law, accepting a deed-in-lieu of
foreclosure, and prosecuting one or more eviction actions against any persons residing in the Property. The
Debtors shall retain all rights to pursue any and all state law remedies.

IT IS FURTHER ORDERED that Movant may assess the Debtors’ mortgage account with reasonable
attorney’s fees and costs in the amount of $726.00 in connection with this Motion for Relief from Stay. If the
Debtors received a Chapter 7 discharge after Movant’s loan was originated, said Attorney’s fees and costs shall
be non-recourse against the Debtors unless Movant’s debt was included in a reaffirmation agreement, and

IT IS FURTHER ORDERED that the 14-day stay Bankruptcy Rule 4001 (a)(3) is not applicable so that
Movant may commence or resume foreclosure proceedings in connection with the above-referenced property as
of June 4, 2012

Date: May 9, 2012
U.S. Bank National Association, as Trustee,                      Robert Casci and Natalie Casci,
by its attorneys,                                                by their attorney,

/s/ Lynn Bouvier Kapiskas                                        /s/ John B. Ennis
Lynn Bouvier Kapiskas, Esquire                                   John B. Ennis, Esquire
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(Local Counsel)

/s/ Susan W. Cody
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                                                                  Entered on Docket: 5/9/12
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(Primary Counsel)                                                Hon. Arthur N. Votolato
                                                                 U.S.Bankruptcy Court Judge
